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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                          ABINGDON DIVISION


UNITED STATES OF AMERICA                       )
                                               )
                                               )   Case No. 1:08CR00024
                                               )
v.                                             )   OPINION AND ORDER
                                               )
DERRICK LAMONT EVANS,                          )   By: James P. Jones
                                               )   Chief United States District Judge
              Defendant.                       )

      Zachary T. Lee, Assistant United States Attorney, Abingdon, Virginia, for the
United States; Sandra B. Jelovsek, Johnson City, Tennessee, for Defendant.

        The defendant has moved to withdraw his guilty plea. For the reasons that

follow, the motion will be denied.



                                           I

        On August 13, 2008, this court accepted the guilty plea of the defendant,

Derrick Lamont Evans, made pursuant to a written Plea Agreement, to conspiracy to

possess with intent to distribute and distribute fifty grams or more of cocaine base,

in violation of 21 U.S.C.A. §§ 841(b)(1)(A), 846 (West 1999 & Supp. 2009). His

sentencing was delayed and nearly a year later, on July 6, 2009, Evans filed the

present Motion to Withdraw Plea and Plea Agreement. An evidentiary hearing was
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held on this motion on July 13, 2009, and this Opinion sets forth the court’s findings

of fact and conclusions of law.

      Evans is one of fifty-one defendants charged in this case with offenses related

to the distribution of crack cocaine. Following the Indictment, which was returned

on May 28, 2008, the defendants were severed into manageable groups for trial. Most

of the defendants eventually pleaded guilty, and of those who went to trial, all but one

were convicted by juries.

      Months before the first scheduled trial, Evans agreed to cooperate with the

government. In a proffer statement, he described in detail the role he and others had

played in the conspiracy. Under the terms of the Plea Agreement that followed,

Evans agreed to plead guilty to the conspiracy charge and to cooperate with the

government and disclose his knowledge of any criminal activity. In return, the

government agreed to dismiss two of his three prior North Carolina felony drug

convictions from a Sentencing Enhancement Information, a benefit that reduced his

applicable statutory minimum sentence from life imprisonment to twenty years. See

21 U.S.C.A. § 841(b)(1)(A) (providing for mandatory minimum sentence of twenty

years if there is a prior felony drug conviction and for a mandatory minimum sentence

of life imprisonment without release if there are two or more prior felony drug

convictions) and 21 U.S.C.A. § 851(a)(1) (West 1999) (providing that a person

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cannot be sentenced to increased punishment by reason of one or more prior

convictions unless government files information stating the previous convictions to

be relied upon).

      At his guilty plea hearing, Evans advised the court that he had a high school

education; that he had worked as a licensed barber; that he had never been treated for

mental illness of any type; that he had taken no medicine or drugs within the previous

twenty-four hours; that he was not under the influence of alcohol; and that he had no

current health problems. He confirmed that he had had an adequate opportunity both

to discuss his case in general with his attorney, and more specifically, to read and

discuss the Plea Agreement with the lawyer. He stated that he was fully satisfied with

his lawyer’s representation.

      The terms of the Plea Agreement were summarized by the prosecutor and

Evans agreed that those terms were included as he understood the agreement. He

agreed that no promises had been made to him other than those contained in the Plea

Agreement, and that no one had attempted in any way to force him to plead guilty.

      In accord with Federal Rule of Criminal Procedure 11(b)(1), I advised Evans

of his rights, the nature of the conspiracy charge, and the maximum possible and

mandatory minimum penalties. The prosecutor then summarized the evidence

amassed against Evans and his coconspirators:

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         [A] long term investigation by the Drug Enforcement
   Administration and other state and local law enforcement agencies
   determined that at approximately 2003 Derrick Evans, the defendant,
   and others from Burlington, North Carolina that were loosely affiliated
   with a music production company entitled Can’t Stop Records, Inc.1
   began distributing crack cocaine and powder cocaine in Bristol,
   Tennessee, Bristol, Virginia, and transporting large quantities of cocaine
   from North Carolina to this area.

        Some of the individuals involved were Marcus Andrew Watkins,
   Andre Lamont Watkins, Tyree Slade, Charles King, Kerry Lee, Oedipus
   Mumphrey and others from Burlington, North Carolina.

          Once large quantities of cocaine were brought from North
   Carolina by, specifically, Mr. Evans and Kerry Lee, they would then
   recruit other individuals from Bristol, Virginia, Bristol, Tennessee to
   become subdistributors of that cocaine, crack cocaine.

          In addition, Mr. Evans, and others, used numerous houses both in
   Bristol, Tennessee and Bristol, Virginia to transform powder cocaine
   into crack cocaine, and to then distribute from those houses, again
   recruiting others from the region to both distribute, to provide the
   residences to distribute from, and also to drive both Mr. Evans and
   others around to deliver crack cocaine to prospective customers.

          The investigation of Mr. Evans recovered multiple ounces of
   cocaine and crack cocaine, over $25,000 United States currency, seized
   numerous vehicles and firearms, and it was also determined through the
   investigation that Mr. Evans did not have any legitimate income through
   the course of the conspiracy.

          And the amount of cocaine and crack cocaine was over 50 grams
   of crack cocaine and over 500 grams of cocaine.




   1
       The name of the enterprise was actually “Kant Stop Records.”

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(Evans Guilty Plea Hr’g 15-17, Aug. 13, 2008.) Counsel for Evans clarified that the

items seized were not seized from Evans personally, but Evans did not otherwise

contest these facts. Evans’ lawyer also stated on Evans’ behalf that while Evans

agreed that he was an organizer or leader of the conspiracy, he was not “necessarily

the leader.” (Id. at 9.) Evans agreed that he was pleading guilty because he was in

fact guilty of the charge of conspiracy.

      At the conclusion of the hearing, I found Evans fully competent and determined

that his guilty plea was knowing and voluntary and accepted it.

       Thereafter, during the first three of the series of trials of codefendants, Evans

and other cooperating defendants testified for the government.2 On February 3, 2009,

in advance of a fourth trial,3 the government moved to continue the sentencing

hearings of the cooperating defendants until after the upcoming fourth trial, in order

to allow them the opportunity for additional cooperation. The motion was granted.

On April 14, 2009, the court received a letter from Evans in which he questioned his

guilt of conspiracy. On April 30, 2009, his attorney moved to withdraw; that motion

      2
         The first trial, which began on October 6, 2008, involved defendants Anthony
Eugene Duty, Robin Marie Davis, and Evans’ wife, Christine Evans. The second trial, which
began on October 27, 2008, involved defendants Douglas Lee Stallworth and Bruce Edward
Baumgardner. The third trial, which began on December 15, 2008, involved Travis Dell
Jones and Brian Kendall Morrison.
      3
         The fourth trial, which involved Reginald Darwin Morton, Tyson Anderson, and
Charles Jermaine King, Jr., began May 26, 2009.

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was granted on May 8, 2009, and present counsel appointed. On May 19, 2009, the

government filed a notice that it considered that Evans had breached the obligations

of his Plea Agreement. Evans did not testify at the fourth trial. Thereafter, on July 6,

through his new attorney, Evans filed the present motion seeking to withdraw his

guilty plea.

        Based on Evans’ letter and similar recantations by other cooperating

defendants, defendants Duty, Davis, Stallworth, and Baumgardner moved for new

trials. At an evidentiary hearing on these motions, held on June 18, 2009, Evans and

the other recanting witnesses, Paul Vaughn and Marcus Watkins, testified. Evans

also testified at the evidentiary hearing on the present motion seeking to withdraw his

guilty plea.

       Evans told basically the same story at each of his codefendants’ trials in which

he testified as a government witness. He explained his drug dealing background and

testified about his relationship with other defendants and the extent of their criminal

activity.

       During his testimony at these trials, Evans again acknowledged the terms of his

Plea Agreement. He understood that he faced a mandatory minimum sentence of

twenty years in prison and that he could potentially receive a life sentence. He

affirmed that the government had not promised him anything for his cooperation. He

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hoped for leniency, but understood that his sentence would be set by the court, and

not the government. He explained that although he had been offered a deal, he had

“had an equal opportunity to go to trial and be proven guilty or not guilty.”

(Stallworth Trial Tr. 55, vol. I, Oct. 28, 2008.)4 He understood that his guilty plea

meant that he was “taking acceptance of the things that [he] did wrong and [was]

saying that [he was] guilty for what [he did] wrong . . . .” (Id. at 56.)

      Evans confirmed that his attorney had advised him of the consequences of his

plea. With his attorney, he reviewed discovery materials and the Sentencing

Enhancement Information. His attorney explained to him that he would be classified

as a career offender, and that because of his “role or involvement as an organizer and

leader,” his sentence would be enhanced. (Id. at 69.) But he also understood that if

he cooperated, the government might ask the court for a lower sentence.

      During his testimony, Evans explained his involvement with the conspiracy and

detailed its history. Evans testified that he was thoroughly familiar with the drug

trade. In Burlington, North Carolina, he was a “go getter,” which meant that he

robbed drug dealers of their supply and sold it to other drug dealers for a less

expensive price. (Duty Trial Tr. 181, vol. II, Oct. 8, 2008.) One of his victims



      4
          The “Stallworth Trial” refers to the trial of Stallworth and Baumgardner. The
“Duty Trial” refers to the trial of Duty, Davis, and Christine Evans.

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eventually retaliated, causing him and his family to move to Johnson City, Tennessee,

near Bristol.

      Once there, Evans’ cousin, Alexander Poole, introduced him to Stallworth.

Stallworth convinced Evans to move to Bristol, because it was “wide open” for crack

distribution. (Stallworth Trial Tr. 13, vol. I, Oct. 28, 2008.) Evans established his

first distribution point in Bristol, Virginia.    Thereafter, Stallworth acted as a

middleman between Evans and other users.

      Evans had two main sources of supply: Bryant Kelly Pride and Kerry Lee.

Evans brought Pride to Bristol, after Pride was released from prison in North

Carolina. They sold crack out of a house on Texas Avenue. No dealer trusted Evans,

given his history of drug robberies, so Pride traveled alone to purchase their product.

Evans purchased kilograms of cocaine from Pride, which Evans then distributed to

the customer base that he had established in the area.

      At some point, Evans and Pride traveled to Atlanta. Lee, a cousin to Evans,

traveled from Burlington to Bristol to take Evans’ “spot,” meaning that while Evans

was in Atlanta, Lee sold drugs from the same house that Evans used as a distribution

point. (Duty Trial Tr. 189, vol. II, Oct. 8, 2008.) Evans and Lee subsequently

became partners. They bought crack in Burlington and distributed it in the Bristol




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area. They imported as much as five kilograms of cocaine on each trip. For

approximately two or three years, Evans regularly dealt in kilograms.

      When Lee moved to the Bristol area, Oedipus Mumphrey came with him. He

originally worked for Lee, but then established his own distribution ring with the help

of Paul Vaughn and Reginald Morton, both Burlington natives. Mumphrey sold

crack from a mobile home on Anderson Street in Bristol, Tennessee. Across that

street was Morton, selling from a different mobile home. Mumphrey eventually

supplied Evans; first with small quantities but then with kilograms.

      Evans used the profits from his drug trade to establish a music recording label

called Kant Stop Records. It involved several of his co-defendants, including Marcus

Watkins, Tyree Slade, Andre Watkins, and King.            After the company failed

financially, some of its members joined Evans in his drug pursuits.

      Evans’ cohorts helped him maintain his drug business while he was jailed on

state charges for possession of marijuana. During the several trials, the government

introduced recorded telephone calls that Evans had made from a local jail. During

one conversation, Evans directed codefendant Tyson Anderson “to cut [his] phones

off.” (Stallworth Trial Tr. 32, vol. I, Oct. 28, 2008.) Evans, Lee, Mumphrey, and

Vaughn used cell phones to communicate with their customers. The phones were

vital: Evans testified that approximately 70 to 100 addicts in the area knew his

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number and that approximately 500 addicts knew the number of either Evans, Lee,

Mumphrey, or Vaughn. While Evans was in jail, Mumphrey obtained Evans’ phones

and gave them to Lee so that Lee could make money. Lee had again left Burlington

for Bristol. He distributed crack from Frederick Cato’s house with help from

Mumphrey and Vaughn. That attracted attention, and law enforcement executed a

search warrant there. Because of that, Evans ordered Anderson to cut the phones off.

      The recorded jail conversations also demonstrated Evans’ relationship with his

family. Evans testified that he had attempted to isolate his wife and children from his

drug business.

      Evans testified against specific defendants. He stated that he had sold crack

from Duty’s car shop on Sixth Street in Bristol, Tennessee, that he had paid Duty

crack for rent, and that Duty often served as a middleman between him and other

users who frequented Duty’s shop. Stallworth and Baumgardner bought crack from

Evans at Evans’ garage on Mary Street in Bristol, Virginia.             Occasionally,

Baumgardner and Stallworth did errands for Evans in return for crack.

      Unlike his trial testimony, Evans’ recanting letters and statements are

inconsistent. On March 17, 2009, in a sworn affidavit, Evans stated that if he was

called as a witness against Morton, he would testify that Morton was not involved in




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the conspiracy, and that this case was “based on lies [and] threats.” (Evidentiary Hr’g

Government’s Ex. 13, June 18, 2009.)

      In his letter to the court dated April 12, 2009, Evans maintained that he had

sold only user quantities, and knew only twenty-six of the fifty-one defendants

indicted in the case. Notably, Evans stated that he would “continue to willingly and

truthfully testify[,]” and only asked that “this so-called conspiracy . . . be looked

into.” (Evidentiary Hr’g Government’s Ex. 12, June 18, 2009.) Finally, in a letter

dated May 18, 2009, Evans claimed that while housed in the same jail cell, he and

Lee had fabricated stories to make their proffer statements to the government appear

more attractive.

      At the hearing on his codefendants’ motions for new trials, Evans claimed that

he had falsified part of his trial testimony. He indicated that he and Lee had

exaggerated the extent of the collaboration between them. He denied that he and Lee

had worked together to transport drugs from Burlington to Bristol, that he had robbed

dealers of their drug supply, that he had given Lee and Mumphrey a location and

phones to make money, or that he had established a mobile home for Mumphrey’s use

in selling drugs.5


      5
         Kerry Lee cooperated, pleaded guilty, and received a motion from the government
requesting a downward departure. While his guideline range was 380 months to life, he was
sentenced on June 8, 2009, to 180 months imprisonment.

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      On the other hand, Evans confirmed other aspects of his testimony. He related

that he had truthfully testified about Duty, Davis, Baumgardner, and Stallworth. He

confirmed that the government had not made any promises to him, except for that

contained in his Plea Agreement. He admitted that he was a drug dealer. Yet he

stated that believed that based on his “legal studies” in jail, he could get out of his

Plea Agreement because of duress. (Evidentiary Hr’g 94, June 18, 2009.)

      At the hearing on his present motion, Evans testified that he was innocent. He

explained that at the time he signed his Plea Agreement, his attorney had advised him

that a white jury would not acquit him, informed him that he would receive a

mandatory life sentence because of his prior convictions, and threatened to withdraw

as counsel if he elected to go to trial. He insisted that if he had been informed of the

potential to avoid a mandatory life sentence, he would not have signed the Plea

Agreement. Furthermore, he admitted that he had sold crack, but denied that he had

been involved in the charged conspiracy.



                                          II

      Federal Rule of Criminal Procedure 11(d)(2)(B) permits the withdrawal of a

plea of guilty after acceptance but before sentence if “the defendant can show a fair

and just reason for requesting the withdrawal.” A defendant has no absolute right to

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withdraw his plea, United States v. Bowman, 348 F.3d 408, 413 (4th Cir. 2003),

because it is a matter within the court’s discretion, United States v. Battle, 499 F.3d

315, 319 (4th Cir. 2007). In deciding the motion, the court should consider:

      (1) whether the defendant has offered credible evidence that his plea was
      not knowing or otherwise involuntary; (2) whether the defendant has
      credibly asserted his legal innocence; (3) whether there has been a delay
      between entry of the plea and filing of the motion; (4) whether the
      defendant has had close assistance of counsel; (5) whether withdrawal
      will cause prejudice to the government; and (6) whether withdrawal will
      inconvenience the court and waste judicial resources.

United States v. Ubakanma, 215 F.3d 421, 424 (4th Cir.2000) (citing United States

v. Moore, 931 F.2d 245, 248 (4th Cir.1991)) (footnote omitted). An appropriately

conducted Rule 11 proceeding “raise[s] a strong presumption that the plea is final and

binding.” United States v. Lambey, 974 F.2d 1389, 1394 (4th Cir. 1992); see also

United States v. Puckett, 61 F.3d 1092, 1099 (4th Cir.1995).

      In support of his present motion, Evans claims that his prior attorney failed to

adequately advise him of the sentence he faced if he was found guilty after trial.

Evans contends that the lawyer told him that if he was convicted by a jury, he would

be sentenced to life imprisonment, based on his prior record. In addition, he says, his

attorney told him that he would likely be convicted because his jury would be “all

white.” Under these circumstances, he asserts, he felt he had no choice but to accept

the government’s proposed Plea Agreement, under which the government would

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dismiss two of his prior state felony drug convictions, requiring only a twenty-year

term of imprisonment. In addition, the Plea Agreement allowed Evans the possibility

of obtaining a motion for a downward departure based on his substantial assistance

to the government, with a resulting sentence of less than twenty years.

      Evans now argues that the attorney’s advice was wrong. He contends that

neither conviction qualifies as a statutory predicate, and thus he never faced a

mandatory life sentence. Alternatively, he argues that even if the court rejects his

argument that these convictions are not proper predicates, there is at least a

substantial question as to their applicability, which his attorney should have told him

prior to his guilty plea.

      Evans thus contends that his guilty plea was not “knowing” and he should be

allowed to withdraw it.

      Evans’ argument is based on the North Carolina structured sentencing scheme.

The defendant concedes that he was convicted in a North Carolina state court of two

“Class I” felonies: The first, on July 17, 1995, of possession with intent to sell

marijuana, and the second, on April 17, 1997, of possession of cocaine. For the 1995

conviction, he was sentenced to eighteen months probation. That probation was later




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revoked and he was sentenced to a term of imprisonment of six to eight months. For

the 1997 conviction, he was sentenced to eight to ten months imprisonment.6

      To be available as a predicate under 21 U.S.C.A § 841(b)(1)(A), a conviction

must be for a “felony drug offense,” which is defined as “an offense that is punishable

by imprisonment for more than one year under any law of the United States of a State

or foreign country that prohibits or restricts conduct relating to narcotic drugs.” 21

U.S.C.A. § 802(44) (West Supp. 2009). If the two North Carolina convictions fall

within this definition, then Evans faces a statutory mandatory life sentence. If not,

he faces a statutory mandatory sentence of twenty years. See 21 U.S.C.A. §

841(b)(1)(A).

       While these prior offenses are both classified as Class I felonies under North

Carlina law, the defendant contends that based on his criminal history at the time, the

maximum punishment that he could have been sentenced to for either crime was not

over twelve months.7 Thus, he argues, they are not predicates within the meaning of

§ 802(44).




      6
          Evans does not contend that his remaining North Carolina felony drug conviction,
for selling cocaine on November 3, 1992, is not a predicate.
      7
          The government does not contest this calculation based on Evans’ prior record.

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      In United States v. Pruitt, 545 F.3d 416 (6th Cir. 2008), upon which the

defendant relies (his present counsel was also counsel in Pruitt), the Sixth Circuit

accurately described the North Carolina structured sentencing scheme, as follows:

      Under [North Carolina General Statutes] § 15A-1340.17, unless
      otherwise provided in a statute prescribing a specific punishment, the
      statutory maximum sentence for any given felony offense is derived
      based on two factors: (1) the defendant's “prior record level” as
      calculated under state law; and (2) whether the aggravated, presumptive,
      or mitigated sentencing range applies. See § 15A-1340.17(c)-(d). The
      defendant’s prior record level (I-VI) is generally determined by
      “calculating the sum of the points assigned to each of the [defendant’s]
      prior convictions.” N.C. Gen. St. § 15A-1340.14(a). A sentence outside
      the presumptive range is permissible if the court determines that an
      aggravated or mitigated sentence is justified in light of the facts and
      circumstances of the case. § 15A-1340.17(c)(3)-(4).
      ....
      The structure of the North Carolina scheme effectively tailors the
      statutory maximum punishment available to each individual defendant.
      For a Class I felony, a hypothetical defendant with the worst prior record
      level (VI) is subject to a maximum term of imprisonment of 15 months
      under the aggravated range. That same defendant is subject to a
      maximum sentence of 12 months’ imprisonment under the presumptive
      range, and to a maximum sentence of 10 months under the mitigated
      range. Conversely, a hypothetical defendant with the lowest prior record
      level (I) is subject to a maximum term of imprisonment of 10 months
      under the aggravated range. That same defendant is subject to a
      maximum sentence of 8 months under the presumptive range, and to a
      maximum sentence of 5 months under the mitigated range. See § 15A-
      1340.17(c)-(d).


Id. at 419-20.



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       In Pruitt, the court rejected the argument (made by Evans here) that whether

the defendant was or could have been sentenced under the aggravated range was

irrelevant to the determination of the conviction’s inclusion as a federal sentencing

predicate.8 It is “top of the aggravated range, and not the presumptive range, [that]

served as the ‘statutory maximum’ for Pruitt’s prior convictions, irrespective of

whether an aggravated sentence was imposed in Pruitt’s case.” Id. at 421.

       On the other hand, the Sixth Circuit accepted Pruitt’s argument (also made by

Evans) that a defendant’s prior record did create the equivalent of a statutory

maximum and thus if a defendant could not have received a sentence over twelve

months based on his actual criminal history at the time, then the conviction is not

available as a predicate.

       In doing so, the Sixth Circuit examined and rejected a Fourth Circuit decision,

United States v. Harp, 406 F.3d 242, 246 (4th Cir. 2005). Harp held that in

determining the career offender enhancement based on a North Carolina sentence, the

court must consider the maximum term of imprisonment that could be imposed on a

hypothetical defendant with the worst possible record. The Sixth Circuit noted that



       8
        In Pruitt, the ultimate issue was the inclusion of the North Carolina convictions in
determining whether the defendant was a career offender under U.S. Sentencing Manual §
4B1.1, but the question was dependant, as here, on whether the prior convictions were
punishable by imprisonment exceeding one year. Id. at 418.

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Harp was decided prior to the Supreme Court’s decision in United States v.

Rodriquez, 128 S. Ct. 1783 (2008), which held that in determining the maximum term

of imprisonment for a prior state conviction in the application of the Armed Career

Criminal Act, the state ceiling for second or subsequent offenses, rather than the

ceiling for first offenders, must be considered. Id. at 1788.        In Rodriquez, the

defendant had been eligible for a recidivist sentence, although it was not imposed.

      Harp followed an earlier Fourth Circuit decision, United States v. Jones, 195

F.3d 205, 206-07 (4th Cir. 1999), which, in the context of determining whether a

defendant was guilty of possessing a firearm after having been convicted of a crime

punishable for term of more than one year, held that the maximum sentence under the

North Carolina sentencing scheme must be applied, regardless of the defendant’s

actual prior record.

      Most recently, a panel of the Fourth Circuit held, albeit in a nonprecedential

decision, that Rodriguez did not weaken, but instead strengthened, the holdings of

Harp and Jones. United States v. Watson, No. 08-4904, 2009 WL 1931226, at *1

(4th Cir. July 7, 2009) (unpublished); see also United States v. Hooker, No. 5:08-CR-

361-FL, 2009 WL 1065865, at *2 (E.D.N.C. Apr. 20, 2009) (holding that Harp is

binding precedent in spite of Rodriguez).




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       In light of this history, I cannot say that Evans’ prior attorney was incorrect in

advising Evans that absent the Plea Agreement, he faced a mandatory life sentence.

More importantly, even if Evans should have been advised that there was some

question as to the use of the North Carolina convictions, I do not find credible his

contention that it would have made a difference in his decision to accept the Plea

Agreement. After all, he exchanged at least the possibility of a life sentence at age

thirty-five with the strong likelihood that he would receive a sentence of less, and

depending on the extent of his assistance to the government, perhaps substantially

less, than twenty years. In fact, it is clear that Evans had the close assistance of

competent counsel in the negotiation of the Plea Agreement that he now wishes to

repudiate.

       Evans also contends that his attorney told him that he would be convicted

because he was an African-American. While the government did not call the prior

attorney as a witness at the hearing on the present motion, I believe that it was the

strength of the government’s case, rather than the defendant’s race, that made it more

likely that he would be convicted. Three of his codefendants who went to trial were

white, and were convicted.9


       9
        Evans’ original attorney filed a Motion to Transfer Venue for Trial, based on the
argument that the jury venire for his trial contained all white persons “except for one person
who described themselves as ‘Asian.’” (Mot. to Transfer ¶ 2.) Shortly after this motion was

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       An important consideration in this case is that Evans has made no credible

showing of innocence. Other than his current denial of guilt and claim that he simply

lied in all of his prior court appearances, he has not attempted to contest the factual

circumstances that support the government’s allegations against him. I find his

current denial of guilt unbelievable, in light of his prior testimony and the overall

circumstances of this case.

       The timing of his request to withdraw also supports a denial of the motion. I

believe it probable that his decision to recant his prior testimony came because he

decided, along the with other codefendants who now seek to withdraw their pleas,

that they could now more safely go to trial, since many of the cooperating defendants

had already been given reduced sentences and were less likely to continue to

cooperate. The substantial delay in the case is a factor I must consider, together with

the fact that withdrawal will prejudice the government’s prosecution of others and

will have wasted judicial resources.

       In summary, I find that Evans is simply trying to game the system by now

seeking to withdraw his prior plea of guilty. He pleaded guilty because it was in his

best interests to do so and not because of any lack of accurate advice as to the

consequences. He was given a thorough Rule 11 examination before his plea was


filed, but before it could be heard, Evans entered his guilty plea.

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accepted, and his prior testimony and the other corroborating evidence apply supports

his guilt.10



                                            III

       For the foregoing reasons, it is ORDERED that the Motion to Withdraw Plea

and Plea Agreement is DENIED.

                                                   ENTER: July 23, 2009

                                                   /s/ JAMES P. JONES
                                                   Chief United States District Judge




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           At oral argument, Evans’ counsel also urged that even if this court declined to
allow the plea to be withdrawn, it abrogate Evans’ appeal waiver contained in the Plea
Agreement. However, even if the government elects to rely on the waiver in the event that
Evans appeals the final judgment in this case, whether that waiver is enforceable will be up
to the court of appeals. See United States v. Poindexter, 492 F.3d 263, 270-71 (4th Cir.
2007) (describing the circumstances under which court of appeals will enforce appeal
waivers). While in general appeal waivers are enforceable, there is an exception for claims
that involve “errors that the defendant could not have reasonably contemplated when the plea
agreement was executed.” Id. at 270 (internal quotation omitted).

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